     Case 1:17-cr-00201-ABJ Document 275 Filed 04/13/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )         Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                       )
                                             )
               Defendant.                    )


        DEFENDANT PAUL J. MANAFORT, JR.’S NOTICE REGARDING
     PORTION OF SEALED TRANSCRIPT OF FEBRUARY 14, 2018 HEARING


       Defendant Paul J. Manafort, Jr., by and through counsel, hereby provides the

following notice in response to the Court’s Minute Order dated April 12, 2018. After being

provided with pages 11-14 of the sealed transcript of the ex parte discussion between the

Office of Special Counsel and the Court which occurred on February 14, 2018, the

defendant has no objection to unsealing these pages.

Dated: April 13, 2018                                  Respectfully submitted,



                                                       ____________/s/________________
                                                       Kevin M. Downing
                                                       (D.C. Bar No. 1013984)
                                                       Law Office of Kevin M. Downing
                                                       601 New Jersey Avenue NW
                                                       Suite 620
                                                       Washington, DC 20001
                                                       (202) 754-1992
                                                       kevindowning@kdowninglaw.com




                                            1	
Case 1:17-cr-00201-ABJ Document 275 Filed 04/13/18 Page 2 of 2



                                    ___________/s/_________________
                                    Thomas E. Zehnle
                                    (D.C. Bar No. 415556)
                                    Law Office of Thomas E. Zehnle
                                    601 New Jersey Avenue NW
                                    Suite 620
                                    Washington, DC 20001
                                    (202) 368-4668
                                    tezehnle@gmail.com

                                    Counsel for Defendant
                                    Paul J. Manafort, Jr.




                              2	
